
HOUSTON, Justice
(concurring specialty).
I do not find even a scintilla of evidence that Ms. Mitchell’s failure to improve was a result of Dr. Ponder’s alleged negligent conduct. However, Dr. Timothy Key’s affidavit and deposition do provide a scintilla of evidence that “able to return to light duty” and “light duty, heat, hot soaks, no heavy lifting” on a return to work slip is not adequate communication to a patient or that patient’s employer in Birmingham, Alabama, where standard practice, according to Dr. Key, requires a “clear definition of the restrictions” as to bending, stooping, standing, and weight lifting and not just “light duty” or “no heavy lifting.”
